                        Case 2:19-mj-05106-VRG Document 1 Filed 05/31/19 Page 1 of 1
A0 91 (Rev. 11/11) Criminal Complaint



                                UNITED STATES DISTRICT COURT                                                               MAY 312019

                                                                   for the                                    CLERK, Us. DISTRICT COURT
                                             Western District of Texas                                      WESTERN D                              TEXAS
                      United States of America                        )                                                              DEPUTY CLEi
                                        V.
                                                                      )

                                                                      )        Case No. DR-/q            /1     S/O,a C' j
       JOHNSON,       Shawn Dewayne             (DOB:   12-03-1977)

                                                                      )



                                 Defendant(s)

                                                         CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best   of my knowledge and belief.
      On or about the date(s) of         5/30/2019         in the county of Maverick                                                           in the
      Western            District of Texas         the defendant(s) violated:
                                                             ,




                                   Code Section                                               Offense Description
       21 U.S.C. 846                                                         ATTEMPT TO POSSESS WITH INTENT TO
                                                                             MANUFACTURE, DISTRIBUTE, OR DISPENSE
                                                                             APPROXIMATELY 5 KILOGRAMS OF COCAINE, A
                                                                             SCHEDULE II CONTROLLED SUBSTANCE, A
                                                                             VIOLATION OF TITLE 21 USC 846.


      This criminal complaint is based on these facts:




       ************************************                      *SEE ATTACHMENT*    * * * * * * * * * ** * * * * *   ** * * *   * * * * * ** * * * *




               EI   Continued on the attached sheet.




                                                                             SA Nicholas Salard                 DEA
                                                                                                            4
                                                                                              Printed        and title
      Sworn to before me and signed in my presence.

      Date:             5/./2019
                                                                                                 Judge
     City and state: Del Rio, Texas                                                                      ,U.S.        Magistrate Ju
                                                                          Victor Robe            GarcIad1 Wie
                                                                           u.s. Magistrate Judge
